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   5
       Attorneys for Petitioners
   6   LIU LUWEI and LV DEZHENG
   7
                                     UNITED STATES DISTRICT COURT
   8
                    CENTRAL DISTRICT OF CALIFORNIA – WESTERN DIVISION
   9

  10   LIU LUWEI, an individual, and LV                    Case No. 18-cv-02174
       DEZHENG, an individual,
  11
                      Petitioners,
  12                                                       VERIFIED PETITION TO RECOGNIZE,
              vs.                                          CONFIRM AND ENFORCE FOREIGN
  13                                                       ARBITRATION AWARD
       PHYTO TECH CORP., a California
  14   corporation,                                        Trial Date:    None Set
  15                  Respondent.
  16   _____________________________________

  17

  18          Petitioners, LIU LUWEI and LV DEZHENG (“Petitioners”) seek confirmation of an
  19   arbitration award (“The Arbitration Award”) dated May 2, 2017 and entered by the Shanghai
  20
       International Economic and Trade Arbitration Commission (“The Commission”) against
  21
       Respondent PHYTO TECH CORP., a California corporation located in San Luis Obispo County
  22
       (“Respondent”). Petitioners are entitled to and hereby apply for recognition, confirmation and
  23

  24   enforcement of the Arbitration Award pursuant to the New York Convention on the Recognition

  25   and Enforcement of Foreign Arbitral Awards (“The New York Convention”) and Chapter 2 of

  26   the Federal Arbitration Act, 9 U.S.C. §§ 201-208. Petitioners further allege as follows:
  27

  28

                                                   1
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                                                     PARTIES
   1
              1.      Petitioner Liu Luwei is a natural person with Canadian nationality residing in
   2

   3   Canada.

   4          2.      Petitioner Lv Dezheng is a natural person with Chinese nationality residing in China.
   5          3.      Respondent Phyto Tech Corp., is a California corporation with a registered agent
   6
       for service of process at 30111 Tomas, Rancho Santa Margarita, San Luis Obispo County,
   7
       California, USA.
   8
                                        JURISDICTION AND VENUE
   9

  10          4.      Original subject matter jurisdiction is conferred in this matter pursuant to 28

  11   U.S.C. § 1331, in that this matter is one of federal question arising under the New York

  12   Convention, codified at Western division, et. seq., and the Federal Arbitration Act (9 U.S.C. § 1,
  13   et. seq.). The United States, where Respondent is incorporated, and the People’s Republic of
  14
       China, where the arbitration took place, are both signatories to the New York Convention.
  15
       Furthermore, the Arbitration Award is final and legally binding among the parties and arises out
  16
       of commercial relationships based on a written contract for the transfer of shares in Teejoy
  17

  18   (Shanghai) Biotechnology Co., Ltd. (“Teejoy”), a limited liability company incorporated under

  19   the laws of the People’s Republic of China.

  20          5.      Diversity subject matter jurisdiction is also conferred in this matter pursuant to 28
  21
       U.S.C. § 1332 in that Petitioners are residents of Canada and People’s Republic of China,
  22
       respectively, Respondent is incorporated and resident in the State of California, and the amount
  23
       in controversy exceeds $75,000.00.
  24
              6.      General personal jurisdiction exists over Respondent Phyto Tech Corp.
  25

  26   (“Respondent”), as Respondent is incorporated in the State of California and regularly conducts

  27   business within the State of California.
  28

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              7.      Venue is proper in this Court pursuant to 9 U.S.C. § 204 and 302 and 128 U.S.C. §
   1
       1391(b)(1), as Respondent is located in this judicial district in San Luis Obispo County, and the
   2

   3   underlying dispute could therefore have been initiated in this judicial district absent the

   4   Agreement (as defined below).
   5          8.      Furthermore, venue is proper in this Court under 28 U.S.C. § 1391(b)(3) as
   6
       Respondent is located in this judicial district and subject to general personal jurisdiction here.
   7
                                  FACTS AND PROCEDURAL HISTORY
   8
              9.      On February 5, 2015, Petitioner Lv Dezheng, acting on behalf of Petitioner Liu
   9

  10   Luwei, entered into a Shareholding Assignment Agreement with Respondent for the sale to

  11   Respondent of a 100% shareholding in Teejoy, as defined above. (“The Agreement”). A true and

  12   correct copy of the Agreement is attached as Exhibit 1 and is incorporated herein by reference. A
  13   certified English translation of the Agreement is attached as Exhibit 2 and is incorporated herein by
  14
       reference.
  15
              10.     The Agreement was revised and re-executed on February 6, 2015 and March 5,
  16
       2015 in order to comply with regulatory requirements in the People’s Republic of China. A true
  17

  18   and correct copy of the revised Agreement executed on February 6, 2015 is attached as Exhibit 3

  19   and is incorporated herein by reference. A certified English translation of the revised Agreement

  20   executed on February 6, 2015 is attached as Exhibit 4 and incorporated herein by reference.
  21
              11.     A true and correct copy of the re-revised Agreement executed on March 5, 2015 is
  22
       attached as Exhibit 5 and incorporated herein by reference. A certified English translation of the re-
  23
       revised Agreement executed on March 5, 2015 is attached as Exhibit 6 and incorporated herein by
  24
       reference.
  25

  26          12.     The Agreement contains the following arbitration clause:

  27          “Where any dispute in connection to or arising from this Agreement can settled by
              amicable negotiation between both parties, where no agreement is reached, any party
  28          can submit the dispute to Shanghai International Economic and Trade Arbitration

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              Commission (Shanghai International Arbitration Center), the arbitration shall be
   1          subject to the prevailing arbitration rules (“the Rules”) of that commission. The
              arbitration venue shall be Shanghai. With respect to the arbitration hereunder, the
   2
              arbitral tribunal (“the arbitral tribunal”) shall comprise of three arbitrators, one
   3          arbitrator shall be appointed by the Assignee, one shall be appointed by the Assignor,
              and the third arbitrator shall be appointed jointly by the Assignee, the Assignor and
   4          the Subject Company, however, where the Assignee, the Assignor and the Subject
              Company fail to agree on the appointment of the third arbitrator (the chief arbitrator),
   5          such chief arbitrator shall be appointed by the chairman of Shanghai International
   6          Economic and Trade Arbitration Commission (Shanghai International Arbitration
              Center). The award of the arbitral tribunal shall be final and binding legally on the
   7          parties. Except as otherwise stipulated in the arbitration award, all expenses shall be
              borne by the losing party. The parties agree unanimously that, the arbitration shall be
   8          preceded in the confidential status.” [See Exhibits 1-6]
   9

  10          13.    Pursuant to the Agreement, Petitioners transferred their shareholding in Teejoy to

  11   Respondent. However, Respondent failed to pay the agreed consideration for the shares.

  12          14.    The parties’ dispute was submitted to be arbitrated by the Shanghai International
  13   Economic and Trade Arbitration Commission (“The Commission”) pursuant to the Agreement.
  14
       A true and correct copy of the Arbitration Petition is attached as Exhibit 7 and incorporated
  15
       herein by reference. A certified English translation of the Arbitration Petition is attached as
  16
       Exhibit 8 and incorporated herein by reference.
  17

  18          15.    On June 2, 2016, the Commission gave notice of the composition of the Arbitral

  19   Tribunal, a true and correct copy of which is attached as Exhibit 9 and incorporate herein by

  20   reference. A certified English copy of the Notice of Composition of Arbitral Tribunal is attached
  21
       as Exhibit 10 and incorporated herein by reference.
  22
              16.    On May 2, 2017, the Commission made an arbitration award (“The Arbitration
  23
       Award”), a true and correct copy of which is attached as Exhibit 11 and incorporated by
  24
       reference. A certified English translation of the Arbitration Award is attached as Exhibit 12 and
  25

  26   incorporated herein by reference. The Commission ordered as follows:

  27    (I)   Order the Respondent to pay RMB 34 million Yuan to two Claimants for shareholding
              assignment;
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        (II) Order the Respondent to pay RMB 676,000 Yuan of liquidated damages due to overdue
   1         payment to two Claimants as of February 22, 2016;
   2
        (III) Dismiss other arbitration claims raised by two Claimants;
   3
        (IV) The arbitration fee of arbitration claims from two Claimants in this case was RMB
   4         590,260 Yuan. Two Claimants shall undertake RMB 100,000 Yuan and the Respondent
             shall pay RMB 490,260 Yuan. As two Claimants had paid all arbitration fees in advance,
   5         the Respondent shall pay RMB 490,260 Yuan to two Claimants;
   6
        (V) Dismiss all arbitration counterclaims raised by the Respondent;
   7
        (VI) The Respondent shall bear the arbitration fees of RMB 248,750 Yuan for arbitration
   8         counterclaims. The payments in the above mentioned Item (I), (II) and (IV) shall be paid
             to two Claimants by the Respondent within 10 days upon service of the Arbitration
   9         Award. This arbitration is final and takes effect from the date of rendering. [See Exhibits
  10         11-12]

  11
                17.   In total, Respondent has been ordered to pay Lv Dezheng and me RMB
  12
       35,166,260.00 Yuan.
  13

  14            18.   On July 14, 2017, Respondent appealed the Arbitration Award in the Intermediate

  15   People’s Court of the People’s Republic of China (“The Intermediate Court”). A true and correct

  16   copy of Respondent’s appeal is attached as Exhibit 13 and incorporated herein by reference. A
  17
       certified English translation of Respondent’s appeal is attached as Exhibit 14 and incorporated
  18
       herein by reference.
  19
                19.   On August 2, 2017, the Intermediate Court rejected Respondent’s appeal and
  20
       affirmed the Arbitration Award. A true and correct copy of the Intermediate Court’s ruling is
  21

  22   attached as Exhibit 15 and incorporated herein by reference. A certified copy of the Intermediate

  23   Court’s ruling is attached as Exhibit 16 and incorporated herein by reference.
  24            20.   To date, Respondent has not paid any amount toward satisfying the Arbitration
  25
       Award.
  26
  27

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                                                 ARGUMENT
   1
              21.     Chapter 2 of the Federal Arbitration Act (incorporating the New York
   2

   3   Convention) provides that “[w]ithin three years after an arbitral award falling under the

   4   Convention is made, any party to the arbitration may apply to any court having jurisdiction under
   5   this chapter for an order confirming the award as against any other party to the arbitration. The
   6
       court shall confirm the award unless it finds one of the grounds for refusal or deferral of
   7
       recognition or enforcement of the award specified in the said Convention.” 9 U.S.C. § 207.
   8
              22.     “Under the United Nations Convention on the Recognition and Enforcement of
   9

  10   Foreign Arbitration Awards, upon application for an order confirming the award, the district

  11   court has little discretion: the court shall confirm the award unless it finds one of the grounds for

  12   refusal or deferral of recognition or enforcement of the award specified in the Convention.”
  13   Ministry of Defense and Support for Armed Forces of Islamic Republic of Iran v. Cubic Defense
  14
       Systems, Inc., 29 F.Supp.2d 1168, 1171 (U.S. District Court, S.D.Cal. 1998) (citing 9 U.S.C. §
  15
       201-208).
  16
              23.     Article V of the New York Convention provides the grounds for refusing to
  17

  18   recognize or enforce an arbitral award, including incapacity of a party (Article V(1)(a)), lack of

  19   proper notice (Article V(1)(b)), awards outside the scope of the arbitration agreement (Article

  20   V(1)(c)), awards not in accordance with the law of the country where the arbitration took place
  21
       (Article V(1)(d)) or awards that have not yet become binding (Article V(1)(e)).
  22
              24.     None of the above grounds are present in this case. There has been no allegation
  23
       of incapacity of the parties or lack of proper notice. The Arbitration Award is within the scope of
  24
       the Agreement, as it addresses Respondent’s default in payment for the shares in Teejoy under
  25

  26   the Agreement. The Agreement provides that the Arbitration Award is final and legally binding

  27   on the parties (see Paragraph 12 of this Petition and Exhibits 1-6). Furthermore, the award has
  28

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       already been affirmed by the Intermediate Court in the People’s Republic of China, where the
   1
       arbitration took place.
   2

   3          25.     Petitioners are therefore entitled to confirmation of the Arbitration Award and

   4   entry of judgment in conformity with the Arbitration Award pursuant to 9 U.S.C. § 207.
   5
                                              PRAYER FOR RELIEF
   6

   7
              WHEREFORE, Petitioners, Liu Luwei and Lv Dezheng seek an order:
   8
                      (i)        Confirming and recognizing the Arbitration Award against Respondent
   9
                                 Phyto Tech Corp.;
  10
                      (ii)       Entering judgment in favor of Petitioners against Respondent Phyto Tech
  11
                                 Corp. in the amount of RMB 35,166,260.00 Yuan or U.S. Dollar equivalent
  12
                                 as of the date of judgment, subject to proof;
  13
                      (iii)      Providing Petitioners with such other and further relief as the Court deems
  14
                                 proper.
  15

  16
                                                         Respectfully Submitted,
  17

  18   DATED: March 15, 2018                            LECLAIRRYAN, LLP
  19

  20                                                    By:
  21                                                            Patricia Peden, Esq.
                                                                Christopher Waldon, Esq.
  22
                                                                Attorneys for Petitioners
  23                                                            LIU LUWEI and LV DEZHENG
  24

  25

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  27

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                                                       7
                             VERIFIED PETITION TO RECOGNIZE, CONFIRM AND ENFORCE
                                          FOREIGN ARBITRATION AWARD
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   1

   2                                  CERTIFICATE OF SERVICE

   3          The undersigned certifies that on this 15th day of March, 2018, the foregoing VERIFIED

   4   PETITION TO RECOGNIZE, CONFIRM AND ENFORCE FOREIGN ARBITRATION

   5   AWARD was served to all counsel of record electronically or by another manner authorized by

   6   Federal Rule of Civil Procedure 5(b)(2).

   7
                                                           /s/ Adriana L. Lawrence
   8
                                                               Adriana L. Lawrence
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